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                        UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

  In The Matter Of:                           )
                                              )     Case Number 23-40160-can13
  Rigoberto NMN Baeza                         )
      Debtor,                                 )
                                              )     Chapter 13
  PennyMac Loan Services, LLC.                )
     Creditor,                                )
                                              )
                                              )

      JOINT MOTION TO SET ASIDE ORDER GRANTING MOTION TO APPROVE
      PERMANENT HOME MORTGAGE MODIFICATION AND DENY CREDITOR’S
       MOTION TO APPROVE PERMANENT HOME MORTGAGE MODIFICATION


        COME NOW, the parties and request the Court set aside the Order Granting

 Motion to Approve Permanent Home Mortgage Modification and deny Creditor’s Motion

 to Approve Permanent Home Mortgage Modification:

 1.     Debtor filed a Chapter 13 Bankruptcy February 8, 2023.

 2.     After negotiations between the parties regarding a resolution of the mortgage

 default, Creditor’s Motion to Approve Permanent Home Mortgage Modification was filed

 on November 17, 2023 with an objection deadline of November 24, 2023.

 3.     An objection to the Motion was not filed.

 4.     On November 24, 2023, this Honorable Court entered its Order granting Creditor’s

 Motion to Approve Permanent Home Mortgage Modification.

 4.     After entry of the Court’s Order and upon further review and consideration, Debtor

 has determined that the agreement reached between the parties is no longer in Debtor’s

 best interests.

 5.     The parties seek to void the agreement, and therefore believe it necessary to
 correct the Court record and request that the previous Order entered by the Court

 approving the parties’ agreement be set aside.


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 6.    Upon entry of an Order setting aside the Order entered November 24, 2023, the

 parties request that Creditor’s Motion to Approve Permanent Home Mortgage

 Modification be denied.

       WHEREFORE, the parties, respectfully request that this Court set aside the Order

 entered November 24, 2023, immediately deny Creditor’s Motion to Approve Permanent

 Home Mortgage Modification and for any additional relief this Court deems just and

 proper.



  WM Law                                        Millsap & Singer, LLC

                                                /s/ Cynthia M. Kern Woolverton
  /s/ Ryan A. Blay                              Cynthia M. Kern Woolverton, #47698
  Ryan A. Blay, #KS-001066                      Eva Marie Kozeny, #40448
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                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was filed
 electronically on December 4, 2023, with the United States Bankruptcy Court, and has
 been served on the parties in interest via e-mail by the Court pursuant to CM/ECF as
 set out on the Notice of Electronic filing as issued by the Court or in the alternative has
 been served by depositing a true and correct copy of same enclosed in a postage
 prepaid, properly addressed envelope, in a post office official depository under the
 exclusive care and custody of the United States Postal Service on those parties directed
 by the Court on the Notice of Electronic Filing issued by the Court as required by the
 Federal Rules of Bankruptcy Procedure and the Local Rules of the United States
 Bankruptcy Court.

                                             /s/ Cynthia M. Kern Woolverton


 Electronic Mail Notice List

 The following is the list of attorneys who are currently on the list to receive e-mail
 notices for this case.

        Ryan A. Blay

        Richard Fink

        Office of the United States Trustee


 Manual Notice List

 The following is a list of parties who are not on the list to receive e-mail notices for this
 case (who therefore require manual noticing).

        Rigoberto NMN Baeza
        5709 N. Euclid Ave.
        Kansas City, MO 64118




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